Case 1:19-cv-09674-JMF-KNF Document 76 Filed 09/17/20 Page 1 of 7

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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DINO ANTOLINI, : Case No.: 1:19-cv-09674
Plaintiff,

- against -

HAROLD THURMAN, BRAD THURMAN and

33 BRE INC.,
Defendants.

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Hon. Kevin Nathaniel Fox

MEMORANDUM IN OPPOSITION
TO DEFENDANTS MOTION TO COMPEL

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Case 1:19-cv-09674-JMF-KNF Document 76 Filed 09/17/20 Page 2 of 7

L IT IS DEFENDANTS REQUESTS THAT ARE IMPROPER, NOT PLAINTIFF’S
OBJECTIONS.

It is not Plaintiffs objections that are improper; rather it is defendants very requests that are
wholly out of bounds and absurd. Counsel’s requests concerning the extraordinary breath of materials
that he mistakenly believes he is entitled to need be put to rest. Counsel has centered the crux of his
motion on a litany of information regarding Plaintiff and his personal life. Defendants document
‘demands’ include, inter alia, his home life, deed(s) to his home, all information about people close to
him, employment records and financial records, among others. See (([DE 69] pg. 4-6). Defendants’
counsel also seeks all currently available documents related to any expert’s reports analysis of the
subject facility. See id at 5, 6. Counsel also attempts to mistakenly burden shift his client’s responsibility
to show why ADA compliance is not readily achievable onto Plaintiff. See [DE 69] pg. 5, 8.

Fed. R. Civ. P. 26(b)(1) Discovery Scope limits discovery to “nonprivileged matter that is
relevant to party's claim or defense and proportional... considering importance of the issues, relative
access to relevant information, resources, importance of the discovery in resolving the issues, and
potential burden/ expense weighed against its likely benefit. The party seeking discovery {compel} over
their adversary’s preliminary objection bears the burden of showing that the discovery requested is
relevant. Zanowic v. Reno, 2000 WL 1376251 (S.D.N.Y. Sep. 25, 2000); movant must actually
demonstrate relevance Fort Worth Employees' Ret. Fund v. J.P. Morgan Chase., 297 F.R.D. 99
(S.D.N_Y. 2013) citing Trilegiant Corp. v. Sitel Corp., (2010). Not once in his multitude of letters and
motion practice to the Court or in his numerous conversations with Plaintiff's counsel has defense
counsel stated his basis for asking for such outrageous materials (other than to “ascertain the extent of
his disability). See [DE 61, 69].

Defendants demanded production of Plaintiff's federal income tax returns. Tax returns in the
possession of the taxpayer are not immune from civil discovery. St. Regis Paper Co. v. United States,
368 U.S. 208, 218-19, 82 S (1961). However, civil courts generally are reluctant to order the production
of personal financial documents and have imposed a heightened standard for discovery of tax
returns. See Chen v. Republic Rest. Corp., 2008 WL 793686, at *2 (S.D.N.Y. Mar. 26, 2008). To
compel production of tax returns in, a party must meet a two-part test: “first, the court must find that the

returns are relevant to the subject matter of the action; and second, that there is a compelling need for the

returns because the information contained therein is not otherwise readily obtainable.” Rosas v. Alice's

Tea Cup, LLC, 127 F. Supp. 3d 4, 11 (S.D.N.Y. 2015) (citing SEC v. Cymaticolor Corp., 106 F.R.D.
2
Case 1:19-cv-09674-JMF-KNF Document 76 Filed 09/17/20 Page 3 of 7
545, 547 (S.D.N.Y. 1985)). Applying the two-part test, Plaintiff's tax returns (1) are not at all relevant to

the subject matter of the action and (2) do not contain one iota of information that is not otherwise
readily obtainable.

Defendants claim that they need Plaintiffs tax returns so that they can investigate Plaintiff’
employment and income. First, Plaintiff’s tax returns and any information contained therein, quite
literally, have absolutely nothing to do with the issues/ controversies in the case at bar. In Chen v.
Republic Rest. Corp., at *2, Judge Ellis logically denied defendants request for Plaintiff's tax returns in
an FLSA action when producing the tax returns was totally irrelevant to the overtime pay monetary
disputes, ‘no colorable reason’ to trample on Plaintiff's R. 26(c) and privacy rights. See e. g., Ellis v. City
of New York, 243 F R.D. 109, (S.D.N.Y. 2007) (defendants subpoena for Plaintiff's tax returns did not
meet relevancy prong and therefore quashed).

In Pope v. City of New York, 2012 WL 39349 (S.D.N.Y. Jan. 5, 2012), Judge Dolinger
explained that courts must hold against the presumption of production of tax returns. The defendants
had requested Plaintiff's tax returns for the purpose of determining the ‘health of his financial portfolio.’
The Pope court held that vague and general requests for tax returns on probing grounds do not even
come close to very high burden of persuasion; if such requests were enforced, “it would lead to tax-
return disclosure in every case in which a defendant's attorney asked the plaintiff whether he had filed
tax returns.” See also Nicaj v. City of New York, 2015 WL 2152705 (S.D.N.Y. May 6, 2015) (Court
specifically noted that even if it could find relevance, a ‘compelling reason’ is a very high burden that
will rarely be met). Defendants (incorrectly) cite to only one case to support their nonsensical position,
Kloppel v. HomeDeliveryLink, Inc., 2020 WL 38895 (Jan. 3, 2020). Magistrate Judge Pedersen
DENIED the defendants motion to compel Plaintiff’s tax returns, citing a lack of compelling reasons.
See Id at 2. The issues in Kloppel were all about violations of the New York Labor Law, i.e., money and
economic/ fiscal questions. And even then, the good Judge still would not order the production of tax
returns; rather opting for depositions and limited production of a small amount of W-2’s.

Defendants maintain they need Plaintiff’s tax returns because it would shed light on Plaintiff’ s
employment. As Plaintiffs counsel has told defendants counsel at least a half dozen times, Plaintiff was
not employed at the time the instant action was initiated, is not currently employed, and at no time in
between has he been employed. There is no cognizable reason other than obstruction and delay for these

bogus inquires. Even if Plaintiff were employed and working 100 hours a week, there would stil] be
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Chen v. Republic Rest. Corp., at *2 (even in an action that concerned Plaintiff's financial portfolio,
Court still did not order production). This is an ADA title IJ action; an action that has nothing to do with
Plaintiff's potential work/ home life, and everything to do with the discrimination that is still ongoing to
this day by the defendants at the Subject Facility in question. Fed. R. Civ. P. 26(c) authorizes courts to
“make any order which justice requires to protect a party from annoyance, embarrassment, oppression,
or undue burden/ expense, including that certain matters not be inquired into, or that the scope of the
disclosure or discovery be limited.” Defendants should be admonished for having completely failed in

meeting their burden(s) and have misused time and resources on issues that never needed to be.

A. Defendants request for Plaintiff's home information is wholly inappropriate.

Defendants erroneously contend that they should be allowed to know the ins and outs of
Plaintiffs home so that they can “ascertain the extent of [his] disability and if there are steps, at his
home or place of business...there may be an issue regarding his ability to traverse steps and standing.”
See ({[DE 69] pg. 5). Counsel has a fundamental misunderstanding of Rule 26 ‘relevancy’ as well as how
this type of case actually works. The ADA construes “disability” to include, inter alia, “a physical
or mental impairment that substantially limits one or more major life activities.” 42 U.S.C. §
12102(1)(A). It defines “walking,” “standing,” and “performing manual tasks” as “major life
activities.” Id. Courts should construe the substantial limitation standard “broadly in favor of expansive
coverage, to the maximum extent permitted by the terms of the ADA,” and it “is not meant to be a

demanding standard.” 29 C.F.R. § 1630.2G)(1)G). See Shariff v. Beach 90th St. Realty Corp., 2013 WL

 

6835157, at *4 (E.D.N.Y. Dec. 20, 2013); see also 29 C.F.R. § 1630.2G)(1)Gii) (threshold issue of
whether an impairment ‘substantially limits’ a major life activity is established through well-pleaded
facts and should not demand extensive, invasive, unwarranted, or overbearing analysis.”).

Plaintiff has been a wheelchair user for the past decade. He endures great difficulties in
navigating daily life and is only able to ‘stand’ periodically with a walker when he gets on and off the
chair. He is a qualified individual under the ADA and is accurately reflected in the record, as defendants
counsel has already gained access to Plaintiff’s medicals. The records also state that even when
Plaintiff is in his own home, he cannot move around without a walker or his chair. Moreover, even if he
were a cane user, he would still be a qualified individual. See Gordon v. District of Columbia, 480 F.
Supp. 2d 112 (D.C.C. 2007). If a Plaintiff is unable to walk without the use of a mobility aid (e.g.,
wheelchair or cane), there is no genuine dispute that they are disabled within the meaning of the ADA.

See 42 U.S.C. §12102(2) (A) (defining disability as a physical or mental impairment that substantially
4
Case 1:19-cv-09674-JMF-KNF Document 76 Filed 09/17/20 Page 5 of 7
limits a major life activity); Wilson v. Haria and Gorgi Corp., 479 F. Supp. 2d 1127 (ED. Cal. 2007).
The Wilson court went on to note that “The fact that defendant asserts that plaintiff was observed

walking without the aid of a cane or wheelchair on any occasion is not sufficient to create a genuine
dispute regarding this issue... does not negate that plaintiff's medical conditions that constitute
“substantial limitation” on ability to walk. See Wilson Decl. J 11; 29 C.F.R. § 1630.2G) (defining
substantial limitation as either total inability to perform major life activity or a significant restriction on
same). Id; See Sharp v. Islands California Arizona LP, 900 F. Supp. 2d 1101 (S.D. Cal. 2012) (Where
Court held that defendants attack on legitimacy of Plaintiff's mobility-limiting disability, [established
through med. records] referencing the limited time where Plaintiff was not in his chair was ‘ridiculous’
and put the Court ‘at a complete loss [for words].’).

If defendants counsel does not believe the certified medical records or has any reservations about
Plaintiffs disability, counsel has always had the options to discuss same with Plaintiffs counsel (not
once has he ever mentioned this), hold depositions of Plaintiff/ his doctors, (has not even inquired about
doing this), and even serve interrogatories regarding Plaintiffs disability and its impact on his life
(nothing). Instead, defendants want to invade Plaintiffs private life for information that is not relevant,
not important, and not logical. Counsel’s position is not only wholly incorrect on the law, but when
viewed through a lens of common sense/ logic, their positions are truly bewildering. It boils down to
“we need to see the financial records and lease/ deed to Plaintiffs private home because that will tell us
if there are any ADA violations at or near his home/ work. It is a perverted argument. If we are to
logically play out defendants’ reasoning, they would have this Court believe that if a disabled ADA
Plaintiff encounters any barriers at her/ his home or place of employment, then somehow that would
moot the substantive discrimination incurred at a Title III Public accommodations facility? What an

insulting, unserious, absurd, frivolous, and bad faith proposition.

B. Defendants counsel’s requests for expert materials and ‘readily achievable’ information
is incorrect and inappropriate

Defendants counsel requests “reports, analyses or communications related to inspections of the
property and existence of ADA violations and documents in Plaintiffs possession related to remediation
and readily achievable, if existing,” as well as all information related to Plaintiff's expert. See ([DE 69]
pg. 5). He also requests “statements of how and why the alterations are readily achievable. Supra at 6.
Counsel’s arguments concerning same are purely disingenuous. As Plaintiff has told defendants’ counsel
numerous times, an expert has not yet been retained and no complete readily achievable analysis is

available because of defendant’s own conduct! Counsel still refuses to grant Plaintiffs expert access to

5
Case 1:19-cv-09674-JMF-KNF Document 76 Filed 09/17/20 Page 6 of 7

the subject facility. (See [DE 65], motion pending concerning counsel’s bewildering obstruction/
disruption of this litigation). Plaintiff also has produced everything he has concerning readily achievable

modifications.
Counsel is also incorrect in his portrayal of the law concerning the appropriate burdens of proof
for the standard of architectural repairs in Title II cases. The case is currently in the discovery phase and

as such, the following burdens are not yet in play until the time of trial. See Borkowski v. Valley Central

 

School District, 63 F.3d 131 (2d Cir. 1995); Roberts v. Royal Atlantic Corp., 542 F. 3d 363 (2d Cir.

 

 

2008); Kreisler v. Second Ave. Diner Corp., 2012 WL 3961304 (S.D.N.Y. Sep. 11, 2012) (aff'd 731
F.3d 184 (2d Cir. 2013)). Even once trial commences, Plaintiff’s initial burden is simply to put forth his
logic concerning those repairs he believes are readily achievable and/or mandated provisions of Title II.
Roberts v. Royal Atlantic Corp., at 363. In Roberts, the Second Circuit confirmed that “Plaintiff's
minimal burden [at trial] does not require him or her to furnish exact or detailed cost estimates...
“defendants possess superior access to information regarding their own facilities, such as architectural
plans and historical and projected costs of repairs... typically in a position far more easily to refute
plaintiff's proposal as unreasonable than is plaintiff to prove otherwise.’ Borlowski, 63 F. 3d at 131. The
burden of persuasion then switches to the defendants to make their claims about all readily achievable
modifications. See Kreisler 2012 WL 3961304 (“well settled principle” in affirming that defendants’
burden is significantly heavier than Plaintiffs after it shifts).

The one case defendants cite on the issue Pascuiti v. New York Yankees, (2d Cir. 1999) is from
the previous century and is misrepresented by counsel. The 2"? Circuit has been steadfast over the past
20 years holding that a Title III Plaintiff's initial burden at trial is minimal in a readily achievable
analysis while the defendants shoulder a significant burden. The two main provisions of Title III that
mandate facility repairs are (1) fundamental alterations and/ or (2) the readily achievable standard. The
2™ Circuit has codified that “regulations adopted pursuant to the ADA impose access requirements on
(1) alterations made to public accommodations after January 26, 1992. See 28 C.F.R. §36.402(a)
and... (2) “the ADA requires removal of barriers, regardless of whether alterations have been made,
“where such removal is readily achievable.” 42 U.S.C. § 12182(b)(2)(A)(iv). Plaintiff has made
defendants counsel aware of his position regarding all repairs dating back many months; that the repairs
are readily achievable based on defendants’ counsel’s own mind-boggling stipulation that finances, no

matter any extreme cost of repairs, are not at issue. Additionally, Plaintiff has submitted to defendants
6
Case 1:19-cv-09674-JMF-KNF Document 76 Filed 09/17/20 Page 7 of 7

documents showing that there has been post-enactment ‘material alterations.’ As such, Plaintiff has

made more than the requisite showing to fulfill not just one, but both available avenues to

compel repairs. See Roberts at 367. To make matters worse, defendants will not even let Plaintiff's expert
into the subject facility to perform an inspection but yet demand all expert materials related to the question
of readily achievable. He has misrepresented the legal standards and served discovery demands for
invasive, irrelevant, and unattainable materials. Plaintiff requests that your Honor see counsel’s bad faith
behavior for what it is, deny his instant motion, and grant Plaintiff any other relief that the Court may
deem just and proper.

Dated: September 17", 2020
Syosset, New York

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